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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                            CASE NO. 1:05-cr-00040-SPM-AK

LAZARO ULYSIS DALY,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 169, Waiver of Appearance at Arraignment on

Superseding Indictment, by Lazaro Ulysis Daly. Having carefully considered the matter, the

Court finds that the waiver meets the requirements of Fed. R. Crim. P. 10(b) and is satisfied that

Defendant has conferred with counsel and has been appropriately advised of the contents of the

superseding indictment.

       Accordingly, it is ORDERED:

       That the waiver of appearance at arraignment on superseding indictment, Doc. 169, is

ACCEPTED;

       That a plea of not guilty to each pertinent count of the superseding indictment is hereby

ENTERED on behalf of Lazaro Ulysis Daly.

       DONE AND ORDERED this 29th day of November, 2005.


                              s/ A. KORNBLUM
                              ALLAN KORNBLUM
                              UNITED STATES MAGISTRATE JUDGE
